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                                UNITED STAThS DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                                                                                            /1
    UNITED S FAIES OF AMERICA                      :      Honorable Douglas Arpert

                           v.                      :      Mag. No. i2-2547 (DA)
                                                                                                          fIi
    SEAN Rt.JBLOWITZ

                                                          ORDER FOR CONTINUANCE


           This matter having been opened to the Court by Paul J. Fishman, United States Attorney

    for the DIstrict of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing),

   and defendant SEAN RUI3LOWJTZ (Aidan P. OConnor. Esq., appearing), for an order granting

   a continuance of the proceedings in the ahovecaptioned matter; and seven continuances having

   previously been granted; and the defendant being aware that he has the right to have the matter

   presented to a Grand Jury within thirty (30) days of the date of his arrest pursuant to Title 18

   U.S.C. § 3161; and the defendant through his attorney having waived such rights and consented

   to the continuance; and for good and sutlicient cause shown,

          IT IS THE FINDING OF THIS COURT that this action should be continued for the

   following reasons:

                  1.    Plea negotiations currently are in progress, and both the United States and the

          defendant desire additional time to enter a plea in Court, which would thereby render trial

          of this matter unnecessary.

                 2.     Defendant has consented to th aforementioned continuance.

                 3.     The grant of a continuance will likely conserve judicial resources.

                 4.     Pursuant to litle 18 of the United States Code, Section 316l(h)(7)(A), the

         ends of justice served by granting the continuance outweigh the best interests of the

         public and the defendants in a speedy trial.
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           WHEREFORE, on this        /2       day of                       2013;
           ORDERED that the proceedings in the above-captioned matter are continued from

    September 10, 2013 through November 8, 2013; and it is Purther

           ORDERED that the period between from September 10, 2013 through November 8, 2013

    shall be excludable in computing time under the Speedy Trial Act of 1974,




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                                        lION. DOUGL.SRPERT
                                        United States Magistrate Judge




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   conse    to:             /




   /JON’ATHAN ROMANKOW
  / Assistant U.S. Attorney
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 ,AIDAN P. O’CONNOR, Esq.
   Counsel for Defendant Sean Rublowitz
